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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  LEXINGTON DIVISION

  MEMBERS HERITAGE CREDIT UNION      )                    Case No. 5:21-cv-00207-CHB-MAS
                                     )                         ELECTRONICALLY FILED
                           PLAINTIFF )
                                     )
  vs.                                )
                                     )                     Removed from:
  NEW YORK MARINE & GENERAL          )                     Fayette Circuit Court
  INSURANCE COMPANY, PROSIGHT        )                     Case No. 21-CI-01743
  SPECIALTY MANAGEMENT CO., INC.,    )
  AND PROSIGHT SPECIALTY INSURANCE )
  COMPANY,                           )
                                     )
                       DEFENDANTS )

              DEFENDANT NEW YORK MARINE AND GENERAL
              INSURANCE COMPANY & PROSIGHT SPECIALTY
              MANAGEMENT CO., INC.’S INITIAL DISCLOSURES
        Pursuant to Rule 26(a)(1)(A) of the Federal Rules of Civil Procedure and based upon the

 information reasonably available to it, defendants New York Marine and General Insurance

 Company and ProSight Specialty Management Co., Inc. (“Defendants”) make the following initial

 disclosures. By making these disclosures, Defendants do not waive their right to object to the

 testimony of any witness or the production or use of any document, electronically stored

 information, or tangible thing on the basis of privilege, the work-product doctrine, relevancy,

 undue burden, materiality, or any other ground. Defendants reserve the right to supplement these

 disclosures in accordance with Rule 26(e). Discovery is ongoing.

 I.    Rule 26(a)(1)(A)(i): Individuals likely to have discoverable information that
       Defendants may use to support their claims or defenses
       Based upon the information reasonably available to Defendants, and subject to Defendants’

 rights to amend and supplement these disclosures in accordance with Rule 26(e), Defendants




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 disclose that the following individuals may have discoverable information that Defendants may

 use to support their claims or defenses:

                Judy Edwards
                ProSight Specialty Insurance
                412 Mt. Kemble Avenue, Suite 300 C
                Morristown NJ 07960

        Judy Edwards (“Edwards”) is a Senior Claims Specialist with ProSight Specialty

 Insurance. She has knowledge relating to Defendants’ records and Defendants’ communications

 with plaintiff Members Heritage Credit Union (“Plaintiff”) and its representatives. Edwards may

 be contacted only through Defendants’ counsel.

                Patrick Ferry
                Members Heritage Credit Union
                440 Park Place
                Lexington, KY 40511

        Patrick Ferry (“Ferry”) is Plaintiff’s president. He has knowledge relating to Defendants’

 communications with Plaintiff and its representatives and relating to Plaintiff’s efforts to settle a

 claim by Ted Brown.

                Matthew R. Parsons
                Stoll Keenon Ogden PLLC
                300 West Vine Street, Suite 2100
                Lexington, KY 40507-1801

        Matthew R. Parsons (“Parsons”) is or was counsel for Plaintiff. He has knowledge relating

 to Defendants’ communications with Plaintiff and its representatives and relating to Plaintiff’s

 efforts to settle a claim by Ted Brown.

        Discovery is ongoing. Defendants reserve their rights to amend and supplement these initial

 disclosures in accordance with Rule 26(e).

 II.    Rule 26(a)(1)(A)(ii): Documents, electronically stored information, and tangible
        things that Defendants may use to support their claims and defenses.



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        Based upon information currently available to Defendants, and subject to Defendants’

 rights to amend and supplement these disclosures in accordance with Rule 26(e), Defendants

 disclose that they may use the following documents, electronically stored information, or tangible

 things in their possession or control to support their claims or defenses in this action:

               1. Management and Security Liability Policy, Policy No. PL201900002925,
                  (“Policy”) issued by defendant New York Marine and General Insurance Company,
                  Bates stamped PS_0001 to PS_0061;

               2. the demand letter dated May 28, 2020, from Daniel McNally, counsel for Ted
                  Brown, to Parsons and Kyle Still (“Still”), counsel for Welcome Federal Credit
                  Union (“Welcome”), Bates stamped PS_0062 to PS_0064;

               3. a letter dated June 15, 2020, from Edwards to Ferry, Bates stamped PS_0065 to
                  PS_0070;

               4. a demand letter dated June 16, 2020, from Still to Parsons, Bates stamped PS_0071
                  to PS_0080;

               5. a letter dated June 22, 2020, from Parsons to Still, Bates stamped PS_0081 to
                  PS_0083;

               6. a letter dated July 17, 2020, from Edwards to Ferry, Bates stamped PS_0084 to
                  PS_0092;

               7. Welcome’s Complaint filed on October 19, 2020, in a civil action captioned
                  Welcome Federal Credit Union v. Members Heritage Credit Union and Johnny
                  Earl Harrell, court file no. 20-CVS-11735, in the Superior Court Division for Wake
                  County, North Carolina; and

               8. a letter dated November 16, 2020, from Edwards to Ferry, Bates stamped PS_0093
                  to PS_0102.

 The documents listed above are located with Defendants and their representatives. Defendants

 reserve their rights to amend and supplement these initial disclosures in accordance with

 Rule 26(e).




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 III.   Rule 26(a)(1)(A)(iii): Computation of Damages Claimed by Defendants
        Rule 26.01(a)(1)(A)(iii) is not applicable because Defendants have not brought any claim

 for damages in this case. Discovery is ongoing. Defendants reserve their rights to amend and

 supplement these initial disclosures in accordance with Rule 26(e).

 IV.    Rule 26(a)(1)(A)(iv): Insurance Agreements

        Defendants do not have a copy of any insurance agreement under which an insurance

 business may be liable to satisfy all or part of a possible judgment in the action or to indemnify or

 reimburse for payments made to satisfy the judgment. The Policy does not provide coverage for

 Welcome’s Complaint, which underlies Plaintiff’s Complaint for Declaratory Relief in this action.

        Discovery is ongoing. Defendants reserve their rights to amend and supplement these initial

 disclosures in accordance with Rule 26(e).

                                           Respectfully submitted,

                                           /s/ Gene F. Zipperle, Jr.
                                           GENE F. ZIPPERLE, JR.
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                                           In association with:

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                                           Insurance Company, and ProSight Specialty
                                           Management Co., Inc., and ProSight Specialty
                                           Insurance Company

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                                     CERTIFICATE OF SERVICE

        I hereby certify that on the 15th day of December, 2021, I electronically filed the foregoing
 document with the Clerk of the Court by using the CM/ECF System, and the foregoing document
 was served electronically in accordance with the method established under this Court’s CM/ECF
 Administrative Procedures upon all parties in the electronic filing system in the case by electronic
 mail including:

 R. Craig Reinhardt
 Daniel C. Mack
 449 Lewis Hargett Circle, Suite 210
 Lexington, KY 40503
 (859) 277-7100
 creinhardt@reinhardtlaw.com
 Counsel for Plaintiff
 Members Heritage Credit Union


                                                /s/ Gene F. Zipperle, Jr.
                                               Counsel for Defendants New York Marine and
                                               General Insurance Company, ProSight Specialty
                                               Management Co., Inc., and ProSight Specialty
                                               Insurance Company




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